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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
TACOMA DIVISION

WILL CO. LTD. a limited liability company
organized under the laws of Japan,

Plaintiff, Case No.: 3:20-cv-05802-BHS
VS. DECLARATION OF KATSUHISA
AOYAGI IN SUPPORT OF PLAINTIFF
KA YEUNG LEE, an individual, YOUHAHA WILL CO. LTD’S OPPOSITION TO
MARKETING AND PROMOTION LIMITED,| DEFENDANTS’ MOTION TO DISMISS
a foreign company; and DOES 1-20, d/b/a FOR LACK OF PERSONAL
THISAV.COM, JURISDICTION

Defendants.

I, Katsuhisa Aoyagi, declare:

1. Iam a Citizen of Japan, over the age of 18 years old, make this declaration based
upon personal knowledge and, if called to testify could and would testify competently to the facts
set forth herein.

2. I am the Chief Executive Officer of Will Co., based in Japan.

DECLARATION OF KATSUHISA AOYAGI ISO FREEMAN LAW FIRM, INC.
PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS 1107 4 Tacoma Avenue South
[NO. 3:20-cv-05802-BHS] Tacoma, WA 98042

-1 (253) 383-4500 - (253) 383-4501 (fax)

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3. Will Co. is an award-winning Japan based entertainment company which includes
a vast library of full-length adult entertainment movies offered for viewing in a fee-based model.

4. The company is comprised of nearly 100 employees who manage over 37
registered trademarks and 50 brands, each of which explore and deliver sensuality and sexuality
through artistic photography, video, and erotic stories.

5. Will Co. produces content that is specific to Japanese models, environment, and
stories.

6. Will Co. is the producer and exclusive licensor of its own motion pictures/content.

7. Since 2016, Will Co. has grown its video library to over 50,000 full length adult
entertainment movies, featuring over 5000 models shot by over 300 photographer/directors.

8. Our brands have grown into a globally recognized leader of Japanese sensual art
garnering numerous industry awards through the use of studios in Japan, exotic locations, high
budget productions, engaging storylines, famed photographers and directors coupled with the
dedication from its artists and technicians.

9. Will Co. is aware that Japanese erotica is a significant niche in the United States
market with high demand. Its popularity equates to the potential to earn significant money in the
United States.

10. = Will Co. has intentionally ventured into the United States market.

11. Will Co. has an exclusive agreement with Digital Commerce Co.,, Ltd. (brand
name Fanza), one of the largest distributor’s adult content in the World for the worldwide
distribution of Will Co.’s content.

12. Will Co., through the agreement with Fanza, has intended to and continues to

intend to capitalize on and earn money from the United States market.

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13. Through Fanza, Will Co.’s content is sold on the web site r18.com. R18.com’s
largest viewer base is the United States, a major reason Will Co. maintains its exclusive contract
with Fanza.

14. Fanza solely distributes Will Co.’s content on its paid membership websites for
on-demand viewing.

15. R18.com utilizes Cloudflare in the U.S. to serve and display content to U.S. viewer.

16. Will Co. earns a revenue share from each transaction in the United States. Yearly,
Will Co. earns in excess of $1M annually from United States Viewers based upon efforts to target
the United States market.

17. Due to intentions to sell in the United States market and aware of the prevalence
of online piracy, Will Co. has sought protection in the United States for the products sold and
displayed in the United States through copyright registrations with the United States Copyright
Office.

18. That United States viewers have access to Will Co.’s Japanese erotica movies for
free on web sites such as ThisAV.com means that those interested in this niche market will not
pay membership fees or Pay Per View fees to view the movies subject to Fanza paying revenue
to Will Co for each viewing.

19, Will Co. protects its market share in the United States by contracting with anti-
piracy service companies (such as DMCAForce and Battleship Stance, Inc.) investigating and
reviewing sites that display Japanese erotica for free, looking for instances of copyright
infringement — where the video streaming sites are displaying Will Co.’s movies for free without
authorization.

20. To that end, Will Co. retained the services of Battleship Stance, Inc. to investigate

the unlawful display of Will Co.’s movies.

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21. Battleship documented at least 13 of Will Co.’s movies displayed for free on
ThisAV.com.

22. Given Will Co.’s participation in the United States market, and the prevalence of
a niche in the United States for Japanese adult movies, there is no question that the display of
Will Co.’s movies in the United States for free damages Will Co.’s ability to earn money in the
United States market.

I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Execute on the 26" day of March 2021 at To Kyo J ADA Y)

Karsulnsa Aoyag,

Katsuhisa Aoyagi
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